      Case: 1:22-cv-02656 Document #: 15 Filed: 08/05/22 Page 1 of 2 PageID #:142




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 KELSEY MURPHY, on behalf of herself and
 all others similarly situated,

 Plaintiff                                            Case No. 1:22-cv-02656

 v.
                                                      Hon. Steven C. Seeger
 HEALTH CARE SERVICE
 CORPORATION d/b/a BLUE CROSS AND                     Magistrate Judge Gabriel A. Fuentes
 BLUE SHIELD OF ILLINOIS,

 Defendant.


DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

        Defendant Health Care Service Corporation, a Mutual Legal Reserve Company operating

in Illinois as Blue Cross and Blue Shield of Illinois (“BCBSIL”), hereby moves to dismiss Plaintiff

Kelsey Murphy’s Complaint for failure to state a claim for relief pursuant to Federal Rule of Civil

Procedure 12(b)(6). The argument and authorities supporting BCBSIL’s Motion to Dismiss are

set forth in detail in the accompanying Memorandum in Support of BCBSIL’s Motion to Dismiss

filed simultaneously herewith.

        WHEREFORE, BCBSIL requests that the Court dismiss Plaintiff’s Complaint with

prejudice and grant any other relief the Court deems necessary and just.
    Case: 1:22-cv-02656 Document #: 15 Filed: 08/05/22 Page 2 of 2 PageID #:143




Date: August 5, 2022                        Respectfully submitted,

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